\_. f CaSe 1:19-cr-10081-|T Document 103 Filed 03/25/19 Page 1 0f3

AO 199A (Rev. 12/1 l) Order Setting Conditions of Release Page l of 3 Pages

 

UNITED STATES DISTRICT COURT

 

for the
District of Massachusetts
United States of America )
V. )
) Case No. 1:19~cr-10081-|T-8
|gor Dvorskiy )
Deféndant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions: '
(l) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § l4135a.

(3) The defendant must advise the court cr the pretrial services office or supervising officer in writing before making
any change of residence cr telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

Ol‘l

 

Date and Time
Ifblank, defendant will be notified of next appearance

(5) The defendant must sign an Appearance Bond, if ordered.

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AO l99B (Re_v. 12/1 l) Additional Conditions of Release Page l of _3_ Pages

 

ADDITIONAL CONDITIONS OF RELEASE

l'I` IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

()(6)

The defendant is placed in the custody of`:
Person or organization
Addl'ess (anly if above is an organization)
City and state Tel. No.

 

 

 

 

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian’s custody.

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Signed:

 

Cu.rtodian 4 Dale

The defendant must:
(a) submit to supervision by and report for supervision to the Pl'ObatiOn/Pl"etl'ia| Services as directed ,

telephone number , no later than
(b) continue or actively seek employment
(c) continue or start an education program.
(d) surrender any passpon to: The Ofl`ice of Probation & Pretria| Services
(e) not obtain a passport or other international travel document

 

 

 

(i) abide by the following restrictions on personal association, residence, or travel: Travel is restricted tO United StateS.
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(g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: co~defendants ( except in the presence of counse|)

   

 

(h) get medical or psychiatric treatment:

 

 

(i) retum to custody each at o’clock after being released at - o’clock for employment, schooling,
or the following purposes:

 

 

(i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

(k) not possess a firearm, destructive device, or other weapon.

(l) not use alcohol ( ) at all ( ) excessively. _

(m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

(n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing.

(0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer. '

(p) participate in one of the following location restriction programs and comply with its requirements as directed.
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as

l directed by the pretrial services office or supervising officer; or

( ) (ii) Home Detention. You are restricted to yourresidence at all times except for employment; education; religious services; medical,
substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising ofticer; or

( )(iii) Home Incarceration. Ycu are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.
( )You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

(r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arre_sts, questioning or traffic stops. .
(s) Mainta n residence and do not move without prior permission.

 

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AO 199C (Rev. 091'08) Advice ofPenalties Page 3 of 3 Pages
ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALT|ES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a f ne or both.

While on reiease, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

lt is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

lf, aiier release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor - you will be fined not more than SlO0,000 or imprisoned not more than one year, or both,

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. ln
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

[ acknowledge that l arn the defendant in this case and that l am aware of the conditions of release. l promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed [ am aware of the penalties and sanctions set forth above.

 

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Directions to the United States Marsl'.tal

( t/Ghe defendant is ORDERED released after processing

( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant
has posted bond and/or complied with all other conditions for release. lf still in custody, the defendant must be produced before
the appropriate judge at the time and place specified

Judr`ci`ai' Oji`cer 's Si`gnarnre

Ke||yann Be|mont Deputy Clerk

Primed name and title

D]STRIBUTION: COURT DEFENDANT PRETRIAL SERV[CE U.S. ATTORNEY U.S. MARSHAL

